     Case 1:20-cv-03010-APM Document 513-4 Filed 02/23/23 Page 1 of 4

HIGHLY CONFIDENTIAL – SEALED FILING




              Exhibit B




      Filed under Seal and Subject to Stipulated Protective Order in
          United States, et al. v. Google LLC, No. 20-cv-3010-APM
       State of Colorado, et al. v. Google LLC, No. 20-cv-3715-APM
Case 1:20-cv-03010-APM Document 513-4 Filed 02/23/23 Page 2 of 4




                        In the Matter Of:

                              USA vs
                                Google




                    KENNETH ELZINGA
                      November 07, 2022
      Case 1:20-cv-03010-APM Document 513-4 Filed 02/23/23 Page 3 of 4
   USA vs                                                      Kenneth Elzinga
   Google                                                    November 07, 2022

                                                                         83
·1· ·strategy.

·2· · · · · · So the question I'm getting at in much of

·3· ·my report is what evidence is there as to why

·4· ·Google designs its SRP the way it does, and, as I

·5· ·indicated, Google uses a variety of mechanisms,

·6· ·ablation studies, human raters, other algorithms to

·7· ·try and determine is the design change in service

·8· ·of user welfare, because if it is, if we get more

·9· ·users, that will enhance our ability to get

10· ·advertising revenues which is what funds the firm.

11· · · · · · So if it is the case that if the product

12· ·design changes are expected to benefit users or

13· ·increase advertising revenues, then that's a design

14· ·change that is inconsistent with a strategy or an

15· ·expectation of, to use your term, throttling the

16· ·SVP's.

17· · · · Q.· So is it your view that as a matter of

18· ·economics for there to be economic harm a company

19· ·must have a strategy to inflict economic harm?

20· · · · A.· Well, in the pedantic sense that

21· ·strategies lead to behavior, and if -- and so what

22· ·I'm focusing on here is behavior, as I've indicated


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 83
                                                                                 YVer1f
      Case 1:20-cv-03010-APM Document 513-4 Filed 02/23/23 Page 4 of 4
   USA vs                                                      Kenneth Elzinga
   Google                                                    November 07, 2022

                                                                         84
·1· ·in my report, trying to assess what is the

·2· ·consequence of Google's conduct with regard to the

·3· ·design of its SRP.· But to flesh that out one might

·4· ·look -- an economist does, there's nothing wrong

·5· ·with an economist looking to see does a company

·6· ·have a strategy that it states, and as I look at

·7· ·documents that Google states as to what it's trying

·8· ·to do from the top of the company, from Eric

·9· ·Schmidt on down, the strategy is we want to change

10· ·things if it is in service to enhancing value to

11· ·users as opposed to a strategy that one might have

12· ·found, for example, with Northwest that our

13· ·strategy is to get Spirit out of the airline

14· ·business in servicing Detroit and Philadelphia and

15· ·Detroit and LaGuardia.· There was both a stated

16· ·strategy and a conduct that ratified that strategy.

17· ·Here I don't find a stated strategy, but more

18· ·importantly to me as an economist, I don't find

19· ·evidence of the conduct of that strategy.

20· · · · Q.· Professor Elzinga, I'm going to try to use

21· ·your words back for clarity.· Imagine a

22· ·circumstance where the conduct existed that you


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 84
                                                                                 YVer1f
